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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA


UNITED STATES OF AMERICA                                                  CRIMINAL ACTION

VERSUS                                                                                No. 09-157

CHARLES RAYMOND                                                                     SECTION I


                                              ORDER

           Before the Court is a motion1 filed by defendant, Charles Raymond, for leave to file an

out-of-time appeal. The government has filed an opposition.2

           On October 6, 2011, Raymond proceeded to trial on charges relating to the carjacking

and murder of Nathaniel Robinson. A jury found Raymond guilty with respect to charges of (1)

conspiracy to use or carry a firearm during and in relation to a crime of violence; (2) using,

carrying, brandishing, and discharging a firearm during and in relation to a crime of violence; (3)

carjacking; and (4) use of a firearm during a carjacking resulting in the death of another person,

which constituted murder. This Court sentenced Raymond to a term of life imprisonment and it

entered judgment accordingly on January 13, 2012. The judgment was amended on April 2,

2012, to modify the restitution order.

           On August 2, 2012, Raymond filed this motion for leave to file an out-of-time appeal.

Although his counsel acknowledges that the motion is untimely, his counsel contends that he was

contacted by Raymond’s family who recently advised him for the first time that Raymond would

like to appeal his conviction.

           The Federal Rules of Appellate Procedure provide that “a defendant’s notice of appeal

must be filed in the district court within 14 days after the later of: (i) the entry of either the

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judgment or the order being appealed; or (ii) the filing of the government’s notice of appeal.”

Fed. R. App. P. 4(b)(1)(A). A court may grant an extension of time to file a notice of appeal

upon a finding of excusable neglect or good cause, but only if the motion for an extension of

time is filed within 30 days from the expiration of the time otherwise prescribed by Rule 4(b).

See Fed. R. App. P. 4(b)(4).

       Even if this Court were required to apply the date of the amended judgment when

determining whether Raymond is entitled to an out-of-time appeal, which finding this Court

does not make, the deadline for Raymond to file a notice of appeal expired on April 16, 2012.

The 30-day window to seek an extension of time closed 30 days later on May 16, 2012.

Raymond did not file this motion for more than two months after the latest date on which he

could have filed for an extension of time, and he has not established that this Court should extend

the time to file a notice of appeal for “excusable neglect” or “good cause.” This Court is not

required to disregard the time limits set forth in Rule 4(b), and the government has not waived its

objection to the same. See United States v. Leijano-Cruz, 473 F.3d 571, 574 (5th Cir. 2006);

United States v. Martinez, 496 F.3d 387, 388-89 (5th Cir. 2007).

       Accordingly,

       IT IS ORDERED that the motion for leave to file an out-of-time appeal is DENIED.



       New Orleans, Louisiana, August 9, 2012.




                                                     __________________________________
                                                            LANCE M. AFRICK
                                                     UNITED STATES DISTRICT JUDGE
